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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF TEXAS
, MCALLEN DIVISION

UNITED STATES OF AMERICA,
Plaintiff,

Vv. CASE NO. 7:19-CV-409

6.10 ACRES OF LAND, MORE OR LESS,
SITUATE IN HIDALGO COUNTY, .
STATE OF TEXAS; YOLANDA
HERNANDEZ, ET AL.

CP OR? CO? KP (OD (OD (>? COD KO? COD KO) COD

Defendants.

 

 

WAIVER OF SERVICE OF JUDICIAL PROCESS

 

TO: ROLAND D. RAMOS
Assistant United States Attorney
1701 W. Bus. Highway 83, Suite 600.
McAllen, Texas 78501
I acknowledge receipt of your request to waive service of judicial process in this action
along with a copy of the Notice of Condemnation, two copies of this waiver form, and a self-
addressed postage-free envelope that I can use to return one signed copy of the waiver to you, at
no cost to me.
I, or the entity on whose behalf I am acting, agree to avoid the costs associated with formal
service of judicial process in the manner provided by Federal Rules of Civil Procedure 4 and 71.1.
I understand that I, or the entity on whose behalf I am acting, will retain all defenses or
objections to the lawsuit, the court’s jurisdiction, and the venue of the action, but that I waive any

objections to a defect in the Notice of Condemnation or in the service thereof,

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I understand that I, or the entity on whose behalf I am acting, pursuant to F ederal Rule of
Civil Procedure 71.1, may file a notice of appearance if there is no objection or defense to the
taking of the condemned lands. In the alternative, if there is an objection or defense to said taking,
I, or the entity on whose behalf I am acting, must serve an answer upon plaintiffs attorney at the
address herein designated within twenty-one (21) days after being served with the Notice of
Condemnation. I further acknowledge that the answer must identify the property in which I, or the
entity on whose behalf I am.acting, claim an interest, state the nature and extent of the interest
afabmel, and state all objections or defenses to the taking.

I, or the entity on whose behalf I am acting, understand that a failure to serve an answer
within twenty-one (21) days shall constitute a consent to the taking and to the authority of the court
to proceed to hear the action and fix just compensation, and shail constitute a waiver of all defenses
and objections not so presented.

I further understand that at the trial of the issue of just compensation, whether or not I, or
the entity on whose behalf I am acting, have filed an answer or served a notice of appearance, I-
may present evidence as to the amount of just compensation to be paid for the property acquired

herein and I may share in the distribution of the award for compensation.

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By:

  

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PRINTED NAME

 

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DATE OF SIGNATURE

Please indicate your contact information below:

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Docen 7c

 

MAILING ADDRESS

 

PHYSICAL ADDRESS (if different from mailing)

PHONE NUMBER

What is the best time to reach you at this phone

number? Lay Lkvenin ¥

 

 

E-MAIL

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